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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the§
Surviving mother of CHARLES            §
ROUNDTREE JR., BERNICE                 §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries and TAYLOR §
SINGLETON                              §
      Plaintiffs,                      §
                                                §
                                                §
                                                §
v.                                              §           CIVIL NO. 5:18-CV-1117-FB
                                                §
THE CITY OF SAN ANTONIO, TEXAS                  §
AND STEVE CASANOVA                              §
   Defendants.                                  §


                    ALTERNATIVE DISPUTE RESOLUTION REPORT


TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant STEVE CASANOVA ("Casanova") files this Alternative Dispute Resolution

Report pursuant to this Court's Scheduling Order, dated February 14, 2019. [Dkt No. 18].

       1.      Counsel for Defendant Casanova informed the client of the alternative dispute

resolution procedures available in the Western District of Texas.

       2.      Plaintiff has not submitted a written settlement offer to Defendant Casanova.

Plaintiffs' deadline to submit a written settlement offer is February 28, 2019.      Defendant

Casanova will respond to the offer on or before March 14, 2019, if Plaintiffs demand is timely

submitted.

       3.      The individuals responsible for settlement negotiations on behalf of Defendant

Casanova are Patrick Bernal and Adolfo Ruiz.


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       4.       Defendant Casanova Defendant recognizes ADR methods approved by this Court,

but feels at this time, alternative dispute resolution is premature pending further discovery. The

parties are just beginning formal discovery. Mediation may be appropriate at a later stage in

these proceedings after appropriate discovery and further case development.

       Signed this   22, day of February, 2019.
                                             Respectfully submitted,

                                             DENTON NAVARRO ROCHA BERNAL         & ZECH
                                             A Professional Corporation
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                                             San Antonio, Texas 78212
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                                             adolfo.ruiz@rampage-sa.com



                                      BY:



                                             State Bar No. 17385600
                                             ATTORNEYS FOR DEFENDANT
                                             STEVE CASANOVA




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                                           CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
in accordance with the Federal Rules of Civil Procedure on this q;?,? day of February, 2019, to
the following:

Daryl K. Washington                                          E-NOTIFICATION
Washington Law Firm, PC
325 N. St. Paul, Suite 3950
Dallas, Texas 75201
Counsel for Plaintiffs

Logan Lewis                                                  E-NOTIFICATION
Assistant City Attorney
Litigation Division
Office of City of San Antonio
100 W. Houston St., 18th Floor
San Antonio, Texas 78205
Counsel for Defendant COSA




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